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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
VERNON UNSWORTH,                                              CASE NUMBER:

                                                                                    2:18-cv-8048
                                               PLAINTIFF(S)
                              v.

ELON MUSK,                                                              REQUEST FOR APPROVAL OF
                                                                      SUBSTITUTION OR WITHDRAWAL
                                             DEFENDANT(S)                     OF COUNSEL

                                                  INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and ftle a "Notice of Appearance or Withdrawal of Counsel" (Form G-123), instead of this
"Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and ftle this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead ftle a regularly noticed motion supported by a more detailed memorandum of
points and authorities.
SECTION I - WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number'?:

Name: Moez M. Kaba                                                            CA Bar Number: 257456
Firm or agency: HUESTON HENNIGAN LLP

Address: 523 West 6th Street, Los Angeles, CA 90014
Telephone Number: -------------
                  (213) 788-4340                                Fax Number: --------------
                                                                            (888) 775-0898
E-mail: ---------------------------------------
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Counsel of record for the following party or parties: ----------------------
                                                      DEFENDANT ELON MUSK   -


Other members of the same firm or agency also seeking to withdraw: John C. Hueston; Sourabh Mishra;
Michael H. Todisco


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